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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

STEVEN W. HABERMAN                              '
                                                '
           Plaintiff                            '
vs.                                             ' Civil Action No. 4:11-CV-00126 MHS-ALM
                                                '
PNC MORTGAGE COMPANY FKA                        '
NATIONAL CITY MORTGAGE CO.                      '
A DIVISION OF PNC BANK FKA                      '
NATIONAL CITY BANK                              '

                       JOINT DISCOVERY/CASE MANAGEMENT PLAN

      1.      State where and when the conference among the parties requirement by FED. R. CIV.
              P. 26(f) was held, and identify the counsel who attended for each party, including
              name, address, bar number, phone and fax numbers, and email address.

      Plaintiff and Defendant, PNC Mortgage, a division of PNC Bank, National Association
(“PNC”) by and through the counsel listed below have conferred via electronic and telephonic
means on more than one occasion in connection with the requirements of Fed. R. Civ. P. 26(f).

       Counsel for Plaintiff:

       James J. Manchee, Texas Bar # 00796988, Merit Drive, Suite 950, Dallas, Texas 75251, e-
       mail: jim@mancheelawfirm.com, Telephone (972) 960-2240. Facsimile (972) 233-0713.

       Counsel for Defendant:

       Laatosha Lewis Payne, Vorys Sater Seymour & Pease, 700 Louisiana, Suite 4100, Houston,
       TX 77002; Texas Bar. No. 24027452; Telephone (713) 588-7000; Facsimile (713) 588-
       7050.

      2.      List the name, bar number, address, email address, and telephone number of counsel
              and any unrepresented person who will appear at the Scheduling Conference on
              behalf of the parties. Appearing counsel must be an attorney of record, have full
              authority to bind clients and enter into stipulations regarding all matters that may be
              discussed.

       James J. Manchee, Bar # 00796988, Merit Drive, Suite 950, Dallas, Texas 75251, e-mail:
       jim@mancheelawfirm.com, Telephone (972) 960-2240.

       Sylvia A. Goldsmith, Esq., LAW OFFICE OF SYLVIA A. GOLDSMITH, Gemini Towers,
       1991 Crocker Road, Suite 600, Westlake, Ohio, 44145, Ohio Bar # 0064871 (Admitted



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     EDTX March 2008), Telephone (440) 934-3025, Facsimile (440) 934-3026, e-mail:
     sgoldsmith@sgoldsmithlawoffice.com.

     Laatosha Lewis Payne, Vorys Sater Seymour & Pease, 700 Louisiana, Suite 4100, Houston,
     TX 77002; Texas Bar No. 24027452; Telephone (713) 588-7000; Facsimile (713) 588-
     7050.

   3.      List the correct names of the parties to this action.

        Plaintiff is Steven W. Haberman.

        Defendant is PNC Mortgage, a division of PNC Bank, National Association, successor by
        merger to National City Bank, N.A. and its division National City Mortgage

   4.      List any related cases pending in any state or federal court. Include the case numbers,
           the courts, and how they are related.

        None.

   5.      Briefly describe in 3 pages or less: (a) What this case is about and (b) Each claim or
           defense.

        This is a consumer protection case brought pursuant to the Fair Credit Reporting Act
(“FCRA”), 15 U.S.C. § 1681 et seq., for multiple, illegal accesses of Plaintiff’s credit report, and
pursuant to the Texas Finance Code § 392 for utilizing false and deceptive means to attempt to
collect a discharged debt.

       Plaintiff alleges that, despite the fact Mr. Haberman’s only credit relationship with
Defendant was terminated via a Chapter 7 bankruptcy discharge in December 2008, prohibiting
any further collection activity on the underlying mortgage account, Defendant subsequently
requested and received Mr. Haberman’s credit report on at least seven (7) occasions, several of
which occurred even after Mr. Haberman retained counsel and advised Defendant that such
accesses were illegal. Plaintiff alleges that the repeated pulls of his private personal and financial
information was done willfully and/or negligently without any legal or proper purpose, and
constitutes an invasion of his privacy in violation of 15 U.S.C. § 1681b(f). Plaintiff alleges that
he is entitled to an award of actual damages, statutory damages, punitive damages, and attorneys’
fees and costs, pursuant to 15 U.S.C. §§ 1681n and 1681o.

       Plaintiff further alleges that Defendant illegally accessed Mr. Haberman’s credit report in
order to engage in illegal collection activity with respect to the discharged mortgage
account. Plaintiff alleges that such conduct violates Texas Finance Code Ann. §§ 392.301(a)(8),
392.304(a)(8) and 392.304(a)(19), thereby entitling Plaintiff to an award of actual damages,
statutory damages, injunctive relief, costs, and reasonable attorney's fees under Texas Finance
Code Ann. § 392.403. After discovery, Plaintiff may elect to amend the pleadings to include
causes of action related to bankruptcy discharge injunction violations.




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       Defendant states that Plaintiff failed to state facts to support a claim for relief against
PNC Mortgage. Defendant further states that the acts alleged do not constitute a violation of the
Fair Credit Reporting Act or the Texas Finance Code.

   6.      Specify the basis for federal jurisdiction.

This Court has subject matter jurisdiction over this matter pursuant to 15 U.S.C. § 1681p.

   7.      Identify the parties who disagree with plaintiff’s jurisdictional allegations and state
           the reasons for disagreement.

There is no dispute as to the Court’s jurisdiction in this matter.

   8.      List anticipated additional parties that may be included, when they might be added
           and by whom.

The parties do not anticipate adding more parties.

   9.      List anticipated intervenors.

The parties do not anticipate any intervenors in this case.

   10.     Describe any class-action or collective action issues.

The allegations underlying Plaintiff’s claims center on PNC’s conduct, policies and/or
procedures with respect to access consumer credit reports for “account review” purposes even
though there is no open or current account to review. Trans Union’s conduct, policies and/or
procedures in this regard are the same for Plaintiff as any other individual who has had his/her
credit report accessed by PNC through TransUnion for account review purposes when there is no
open or current account to review.

Defendant states that there are no class action issues in this matter. No claims have been made
nor is there any factual basis for a class action.

   11.     State whether the parties are exempt from initial disclosures under Rule 26(a)(1)(E).

The parties are not exempt from initial disclosures under Rule 26(a)(1)(E).

   12.     Describe the proposed discovery/case management plan, including:

           (a)     In accordance with Rule 26(f):




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              (1)    Any changes that should be made in the timing, form, or requirement
                     for disclosures under Rule 26(f). including when the initial
                     disclosures were made or will be made;

              The parties do not see a need for any changes in the timing, form, or
              requirement for disclosures under Rule 26(f).

              (2)    The subjects on which discovery may be needed, when discovery
                     should be completed, and whether discovery should be conducted in
                     phases or be limited to or focused on limited issues.

                Plaintiff anticipates conducting discovery on the following: (1)
                Defendant’s intentions with regard to Mr. Haberman’s discharged
                account; (2) agreements, whether specific or general, between Defendant
                and any other entity with regard to Mr. Haberman’s discharged account;
                (3) Defendants’ policies, procedural manuals and/or training materials
                regarding the sale and/or collection of accounts discharged in bankruptcy;
                (4) Plaintiff’s archived Trans Union credit file (showing the precise dates
                and purposes for which Defendant purported to access Mr. Haberman’s
                credit report); (5) agreements and/or certifications by or between
                TransUnion and Defendant regarding accessing credit files; and (6)
                Defendants’ policies, procedural manuals and/or training materials
                ensuring that credit files are requested, obtained and/or furnished only for
                permissible purposes.

                Defendant anticipates conducting discovery on the following: (1)
                Plaintiff’s communication, oral or written, with PNC since the filing of his
                bankruptcy; (2) Plaintiff’s efforts in applying for new credit since the
                bankruptcy discharge; (3) Plaintiff’s harm or damages, if any, that he has
                incurred as a result of the alleged acts; (4) Plaintiff’s efforts to contact
                PNC directly concerning his credit reports; (5) any and all documents and
                testimony that might be relevant to the disposition of this matter.

              (3)    Any issues relating to disclosure and discovery of electronically
                     stored information (ESI), including the form(s) in which it should be
                     produced.

              None at this time.

              (4)    The steps already taken or that will be taken for preserving
                     discoverable information, including ESI.

              None at this time.




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                (5)     Any issues relating to claims of privilege or protection, including
                        whether any agreement has been reached as to inadvertent
                        production.

                None at this time.

                (6)     Any changes that should be made in the limitations on discovery
                        imposed by the Rules, whether federal or local, and any other
                        limitations that should be imposed.

                None at this time.

       (b)    Of whom plaintiff anticipates taking oral depositions.

    Plaintiff anticipates taking at least one Fed. R. Civ. Pro. Rule 30(b)(6) deposition of
    Defendant, as well as several individual depositions of persons identified therein as
    having knowledge specific to this case. Plaintiff also anticipates taking at least one
    deposition of third party, Trans Union LLC.

       (c)    Of whom defendant anticipates taking oral depositions.

       Defendant anticipates taking the deposition of Plaintiff as well as any individuals
       named by Plaintiff as corroborating any claims for damage or that PNC Mortgage
       made efforts to collect upon the mortgage debt after the bankruptcy.

       (d)    When plaintiff (or the party with the burden of proof on an issue) will be able
              to designate experts and provide the reports required by Rule 26(a)(2)(B), and
              when the opposing party will be able to designate responsive experts and
              provide their reports.

       Plaintiff anticipates being able to designate experts and provide the reports required
       by Rule 26(a)(2)(B) within two weeks of the close of fact discovery.

       (e)    When plaintiff (or the party with the burden of proof on an issue) anticipates
              taking expert depositions and the anticipated completion date.

       If Defendants designate an expert(s), Plaintiff anticipates being able to complete an
       oral deposition of such individual(s) within 30 days of receipt of such expert’s report.

       (f)    When the opposing party anticipates taking expert depositions and the
              anticipated completion date.

      Defendant anticipates taking the depositions of Plaintiff’s experts within 30 days of
      receipt of the expert report.




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            (g)    Whether there should be separate deadlines for the completion of fact
                   discovery and expert discovery.

            The parties believe that the nature of the claims at issue require completion of fact
            discovery before designation and exchange of expert reports. As such, separate
            deadlines for the completion of fact discovery and expert discovery is necessary.

            (h)    If the parties disagree on any part of the discovery plan, describe the opposing
                   views.

            To the extent there has been any disagreement on any part of the discovery plan, the
            parties have described the opposing views in the Paragraphs above.

   13.      Specify any discovery beyond the initial disclosures that has taken place to date.

No formal discovery has taken place to date.

   14.      State the progress made toward settlement, and the present status of settlement
            negotiations by providing the information set out below.

            a.     Describe the possibilities for a prompt settlement or resolution of the case that
                   were discussed in the Rule 26(f) meeting.

         Plaintiff communicated a settlement demand to Defendant.

        Defendant is in the process of analyzing the demand and considering a counter offer in
light of the known facts of the case. The parties have had many conversations concerning
settlement of this case.

            b.     Describe what each party has done or agreed to do to bring about a prompt
                   resolution of this case.

See Paragraph 14a above.

            c.     State whether a demand and an offer have been made.

See Paragraph 14a above.

            d.     If the parties have agreed on a specific mediator, state the name, and address
                   of the mediator and at what stages of the litigation mediation is most
                   appropriate.

The parties have not yet picked a mediator.




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   15.     United State Magistrate Judges are vested with full authority to try both jury and
           nonjury trials. State whether the parties agree to trial before a United States
           Magistrate Judge.

The parties do not agree to a trial before a Magistrate Judge.

   16.     State whether a jury demand has been made and if it was made on time.

No jury trial has been requested.

   17.     Specify the number of hours it will take to present the evidence and cross-examine
           witnesses in the trial of this case.

Plaintiff anticipates that it would take approximately 2 days present his case in chief. Defendant
anticipates no more than 2 days to present its case in chief.

   18.     List any pending motions that could be ruled on at the Scheduling Conference.

There are currently no pending motions.

   19.     List all other pending motions.

There are currently no pending motions.

   20.     Indicate other matters peculiar to this case, including discovery, that deserve the
           special attention of the court at the Scheduling Conference.

   21.     Certify that all parties have filed Disclosure of Interested Persons as directed in
           paragraph 3 in the Order to Meet, Report and Appear at Scheduling Conference,
           listing the date of the original and any amendment.

Plaintiff’s Disclosure of Interested Persons was filed on March 22, 2011.
Defendant’s Corporate Disclosure Statement was filed on March 14, 2011.

   22.     Proposed Dates for Scheduling. Please review the proposed deadline for many of the
           pretrial events (listed below) that will be scheduled for this case. Both the events and
           the proposed dates are intended to give the parties guidance in (1) formulating
           answers to the other parts of this questionnaire and (2) scheduling the events
           preceding the trial. The Scheduling Order that will be entered at the Scheduling
           Conference will necessarily be more specific, more detailed, and contain additional
           matters and discovery limitations. The court’s suggested dates and events may be
           appropriate for this case. If not, please propose suggested modifications that the
           parties believe are suited for this lawsuit.
           As indicated below by asterisks, some dates and events are “inflexible” because of
           limited judicial resources and the court’s calendar.




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                                                    COURT’S              PARTIES’
           PRETRIAL EVENTS
                                                 PROPOSED DATES       PROPOSED DATES

Deadline to file motions to transfer          May 25, 2011
Rule 26(f) meeting*                           May 25, 2011
File case management plan*                    June 1, 2011
Rule 16(b) scheduling conf.*                  June 8, 2011
Deadline to add additional parties            September 1, 2011    November 1, 2011
Deadline to amend pleadings                   September 1, 2011    November 1, 2011
Deadline to file motions to dismiss           September 16, 2011   November 16, 2011
Exchange privilege logs                       October 17, 2011     December 1, 2011
                                                                   December 16, 2011
Deadline for plaintiff to designate expert  November 16, 2011
witnesses & reports on issues for which the
party bears the burden of proof
                                                                   January 16, 2012
Deadline for defendants to designate expert December 16, 2011
witnesses & reports for which the party does
not bear the burden of proof

Discovery deadline                            January 17, 2012     February 17, 2012
Deadline to complete required mediation January 23, 2012           February 23, 2012
Deadline to file dispositive motions*         January 30, 2012     March 1, 2012
                                                                   April 16, 2012
Deadline to file joint pretrial order, motions April 16, 2012
in limine & proposed jury instructions (or
proposed findings of fact & conclusions of
law)
Pretrial conference & trial scheduling        May 14, 2012
                                                                   May 14, 2012
                                              9:00 am in
                                              Sherman, Texas




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Signature of Counsel and Date:



6/30/2011                             /s/ Sylvia A. Goldsmith
Date                               Sylvia A. Goldsmith, Esq.
                                   On behalf of Plaintiff, Steven W. Haberman


6/30/2011                          ___/s/ James J. Manchee__________________
Date                               James J. Manchee
                                   On behalf of Plaintiff, Steven W. Haberman


6/30/2011                          /s/ Latosha Lewis Payne_____________________
Date                               Latosha Lewis Payne
                                   On behalf of Defendant,
                                   PNC Mortgage, a division of PNC Bank, N.A.




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